Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 1 of 28 Page ID
                                 #:3118
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 2 of 28 Page ID
                                 #:3119
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 3 of 28 Page ID
                                 #:3120
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 4 of 28 Page ID
                                 #:3121
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 5 of 28 Page ID
                                 #:3122
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 6 of 28 Page ID
                                 #:3123
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 7 of 28 Page ID
                                 #:3124
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 8 of 28 Page ID
                                 #:3125
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 9 of 28 Page ID
                                 #:3126
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 10 of 28 Page ID
                                 #:3127
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 11 of 28 Page ID
                                 #:3128
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 12 of 28 Page ID
                                 #:3129
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 13 of 28 Page ID
                                 #:3130
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 14 of 28 Page ID
                                 #:3131
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 15 of 28 Page ID
                                 #:3132
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 16 of 28 Page ID
                                 #:3133
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 17 of 28 Page ID
                                 #:3134
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 18 of 28 Page ID
                                 #:3135
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 19 of 28 Page ID
                                 #:3136
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 20 of 28 Page ID
                                 #:3137
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 21 of 28 Page ID
                                 #:3138
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 22 of 28 Page ID
                                 #:3139
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 23 of 28 Page ID
                                 #:3140
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 24 of 28 Page ID
                                 #:3141
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 25 of 28 Page ID
                                 #:3142
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 26 of 28 Page ID
                                 #:3143
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 27 of 28 Page ID
                                 #:3144
Case 2:17-cv-04382-CBM-MRW Document 140-4 Filed 09/18/18 Page 28 of 28 Page ID
                                 #:3145
